Case 18-23105               Doc 20-3           Filed 07/25/19 Entered 07/25/19 15:56:50                                   Desc Proposed
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